                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF MISSOURI
                                    WESTERN DIVISION
UNITED STATES OF AMERICA,                            )
                                                     )
                              Plaintiff,             ) Case No. 18-00293-02-CR-W-DGK
                                                     )
       v.                                            ) Date: November 2, 2022
                                                     )
TREVOR SCOTT SPARKS,                                 )
                                                     )
                              Defendant.             )
                                           MINUTES OF TRIAL
HONORABLE GREG KAYS presiding at Kansas City, Missouri.
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Nature of Proceeding: Criminal Jury Trial - Day 2
Time Commenced: 8:31 a.m.            Time Terminated: 5:02 p.m.
Plaintiff by:                                 Defendants by:
Bruce Rhoades, AUSA                           Al White
Robert Smith, AUSA                            Blade Moore

 Remarks:                                                                               Witness Testifying
 8:31 a.m. Preliminary matters taken up with counsel and defendant outside the         David Smith
 presence of the jury. 8:59 a.m. In session. David Smith - Direct. 9:17 a.m. Cross.    9:02 – 9:31 a.m.
 9:29 a.m. Redirect. 9:35 a.m. David Richards - Direct. 10:04 a.m. Cross. 10:25 a.m.
                                                                                       David Richards
 Break. 10:45 a.m. In session. Cross continued. 10:52 a.m. Leslie Walker – Direct.
                                                                                       9:35 – 10:48 a.m.
 12:00 p.m. Lunch recess. 12:59 p.m. In session. Direct continued. 1:09 p.m. Cross.
 1:29 p.m. Redirect. 1:37 p.m. Recross. 1:39 p.m. David Chronister – Direct. 1:46      Leslie Walker
 p.m. Cross. 1:49 p.m. Nick York – Direct. 2:00 p.m. Cross. 2:06 p.m. Redirect.        10:52 – 1:37 p.m.
 2:07 p.m. Katee Garcia – Direct. 2:25 p.m. Break. 2:44p.m. In session. Direct
                                                                                       David Chronister
 continued. 3:00 p.m. Russell McGinnis – Direct. 3:36 p.m. Cross. 3:45 p.m.
                                                                                       1:39 – 148 p.m.
 Redirect. 3:48 p.m. Recross. 3:48 p.m. Break. 4:07 p.m. In session. Marion Doug
 McCrorey. 4:23 p.m. Cross. 4:30 p.m. Benjamin Puleo – Direct. 4:45 p.m. Michelle      Nick York
 Rogers – Direct. 4:54 p.m. Cross. 5:00 p.m. Jury evening recess. 5:02 p.m. Evening    1:49 – 2:06 p.m.
 recess.
                                                                                       Katee Garcia
                                                                                       2:07 – 2:57 p.m.
                                                                                       Russell McGinnis
                                                                                       3:00 – 3:48 p.m.
                                                                                       Marion McCrorey
                                                                                       4:07 – 4:30 p.m.
                                                                                       Benjamin Puleo
                                                                                       4:30 – 4:44 p.m.
                                                                                       Michelle Rogers
                                                                                       4:45 – 5:00 p.m.
Date/Time Government Rested:             Date/Time Defendant Rested:
Court Reporter: Annisa Justice                        Courtroom Deputy: Tracy Strodtman
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